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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 IVETTE M. MARTINEZ GONZALEZ, ET
 AL.,

      Plaintiffs,

                    v.                            CIVIL NO. 16–2077 (GAG-BJM)

 CATHOLIC SCHOOLS OF THE AR-
 CHIDIOCESES OF SAN JUAN PENSION
 PLAN, ET AL.,

    Defendants.



        Final Motion for Extension of Time to Respond to Motion to Compel

To The Honorable Court:

      Defendants Catholic Schools of the Archdioceses of San Juan Pension Plan and the

Superintendence of Catholic Schools of the Archdioceses of San Juan respectfully move

this Court to grant them a final extension of time, until August 31, 2017, to oppose the

plaintiffs' motion to compel.

    The short of it that the undersigned will need more than time than he had expected—

no least because of its length, see ECF No. 132—to responsibly respond to the plaintiffs'

motion to compel. (This may include a potential last-ditch good-faith attempt to resolve

any disputes without this Court's intervention.) The requested extension in no way

would affect the discovery schedule ordered by this Court at ECF No. 113. And, in fact,
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one of the reasons why the undersigned will need more time to oppose the motion to

compel is that he had been preparing for today's depositions of Mr. Francis M. Ouellette

and Mrs. Anabel P. Casey. See id. ("Depositions are scheduled for the week of 8/21/17").

Last but not least, the undersigned has been relocating to a new office, a move that nat-

urally (but temporarily) slows an attorney's workflow.

    For these reasons, and because the defendants have shown good for a last extension

of time, they respectfully request that this Court grant this motion and thus give them

until August 31, 2017 within which to respond to the plaintiffs' motion to compel.

Dated: August 21, 2017                    Respectfully submitted,



                                             SBGB LLC
                                             Attorneys for Catholic Schools of the Archdi-
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                                             perintendence of Catholic Schools of the
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                                             /S/ JAIME L. SANABRIA MONTAÑEZ
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                                CERTIFICATE OF SERVICE
I certify that, on this day, the foregoing was electronically filed with the Clerk of Court

by using the CM/ECF system, which will send a notice of electronic filing to all counsel

of record.



                                     By: /s/ Jaime L. Sanabria Montañez




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